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 8                              UNITED STATES DISTRICT COURT

 9                           NORTHERN DISTRICT OF CALIFORNIA

10                                   SAN FRANCISCO DIVISION
11
     RICHARD KADREY, et al.,                        Case No. 3:23-cv-03417-VC-TSH
12
        Individual and Representative Plaintiffs,   [PROPOSED] ORDER GRANTING
13                                                  DEFENDANT META PLATFORMS INC.’S
           v.                                       ADMINISTRATIVE MOTION REQUESTING
14                                                  LEAVE FOR REBUTTAL EXPERT REPORT
     META PLATFORMS, INC., a Delaware               AND DEPOSITIONS
15   corporation,

16                                   Defendant.

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                                                                   [PROPOSED] ORDER GRANTING
                                                                ADMIN MTN RE EXPERT DISCOVERY
                                                                         3:23-CV-03417-VC-TSH
     Case 3:23-cv-03417-VC         Document 486-2         Filed 03/21/25    Page 2 of 2



 1          Defendant Meta Platforms, Inc. (“Meta”) filed a Administrative Motion Requesting Leave

 2   for Rebuttal Expert Report and Depositions, per Civil L.R. 7-11.

 3          Having considered the Administrative Motion, and finding good cause for the motion, the

 4   Court ORDERS as follows:

 5          Defendant Meta’s Motion is GRANTED and the following rebuttal expert discovery is

 6   allowed:

 7          (1)     Meta may file a declaration from Meta’s expert Barbara Frederiksen-Cross with

 8   Meta’s March 24, 2025, summary judgment submission, rebutting the Choffnes Report as relevant

 9   to Plaintiffs’ summary judgment motion;

10          (2)     Meta may serve a rebuttal expert report addressing the full scope of the Choffnes

11   Report from Ms. Frederiksen-Cross by April 4, 2025;

12          (3)     Plaintiffs shall allow Meta to conduct a deposition of Dr. David Choffnes, by April

13   1, 2025;

14          (4)     Meta shall make Ms. Frederiksen-Cross available for deposition on her April 4, 2025

15   rebuttal report; and

16          (5)     No further expert discovery, such as a further rebuttal report by Plaintiffs to Ms.

17   Frederiksen-Cross’s April 4, 2025 rebuttal report, is permitted.

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19          IT IS HEREBY ORDERED.

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21   Dated: ______________
                                                      HON. VINCE CHHABRIA
22                                                    UNITED STATES DISTRICT JUDGE
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                                                                           [PROPOSED] ORDER GRANTING
                                                      1                 ADMIN MTN RE EXPERT DISCOVERY
                                                                                 3:23-CV-03417-VC-TSH
